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                                     UNITED STATES BANKRUPTCY COURT 

                                      NORTHERN DISTRICT OF FLORIDA 

                                                         

    In Re:                                              )                
                                                                        Case No. 18‐30946‐KKS  
                                                        ) 
    Juan Alboniga 
          Debtor                                        ) 

                                                        ) 

 

 ORDER APPROVING TRUSTEE’S APPLICATION FOR AUTHORITY AND APPROVAL TO EMPLOY  VICTOR 
ZAVALA, A MEMBER OF SIMMONS REALTY GROUP INC, AND APPROVE LISTING AGREEMENT FOR SALE 
                              OF REAL PROPERTY (Doc. 36) 

                                                              

          THIS MATTER having come before the Court on the matter of the  

Trustee's Application for Authority and Approval to Employ Victor Zavala a  

member of Simmons Realty Group Inc., and Approve Listing Agreement for Sale  

of Real Property (Doc. 36), and the Court after being otherwise advised in the  

premises, it is:  

          ORDERED: 

          1.         The Application (Doc. 36)  is APPROVED. 

          2.         The Trustee is authorized to employ Victor Zavala a member of the  

Simmons Realty Group Inc., pursuant to the terms and conditions provided in the  

Application (Doc. 36). 

          DONE AND ORDERED this the ____________________________, 2019. 
                                       4th day of April
 
                                                                   /s/ Karen K. Specie
                                                                  ______________________________ 

                                                                  KAREN K. SPECIE 

                                                                  United States Bankruptcy Judge 

 

This Order Prepared by: Sherry F. Chancellor, Trustee 

CC:       All Parties in Interest 
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Sherry F. Chancellor is hereby directed to serve a copy of this order on interested parties and file a 
certificate of service within 3 days of entry of the order  

                                                       

 

 
